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                    1    MORGAN, LEWIS & BOCKIUS LLP                            TOWNSEND AND TOWNSEND AND
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                   12    Counterdefendants
                         ALPHA & OMEGA SEMICONDUCTOR,
                   13    INC.
                         ALPHA & OMEGA SEMICONDUCTOR,
                   14    LTD.
                   15
                                                     UNITED STATES DISTRICT COURT
                   16
                                                   NORTHERN DISTRICT OF CALIFORNIA
                   17
                                                         SAN FRANCISCO DIVISION
                   18

                   19
                         ALPHA & OMEGA SEMICONDUCTOR,                        Case No. C 07-2638 JSW
                   20    INC., a California corporation; and                 (Consolidated with Case No. C-07-2664 JSW)
                         ALPHA & OMEGA SEMICONDUCTOR,
                   21    LTD., a Bermuda corporation,
                                                                             JOINT CASE MANAGEMENT
                   22             Plaintiffs and Counterdefendants,          CONFERENCE STATEMENT AND
                                                                             [PROPOSED] ORDER
                   23                  v.

                   24    FAIRCHILD SEMICONDUCTOR
                         CORP., a Delaware corporation,
                   25
                                  Defendant and Counterclaimant.
                   26

                   27    AND RELATED COUNTERCLAIMS

M ORGAN , L EWIS &
                   28
  B OCKIUS LLP                                                                             JOINT CASE MGMT CONF. STMT &
 ATTORNEYS AT LAW
   SAN FRANCISCO
                                                                     1-SF/7580628.3                    [PROPOSED] ORDER
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                    1           Pursuant to Civil L.R. 16-9(a) and Patent L.R. 2-1(a), plaintiffs and counterdefendants
                    2    Alpha & Omega Semiconductor, Ltd. and Alpha & Omega Semiconductor, Inc. (collectively,
                    3    “AOS”) and defendant and counterclaimant Fairchild Semiconductor Corp. (“Fairchild”) jointly
                    4    submit this Case Management Statement and Proposed Order and request the Court to adopt it as
                    5    the Case Management Order in this case. As described below, the Court consolidated this case
                    6    for all purposes with Fairchild Semiconductor Corp. v. Alpha & Omega Semiconductor, Inc., et
                    7    al., Case No. 07-2664 JSW, and the parties request that all provisions of this Case Management
                    8    Statement and Proposed Order apply to both cases.
                    9    I.             Jurisdiction and Service
                   10           This is an action arising under the patent laws of the United States, 35 U.S.C. §§ 1 et seq.
                   11    and the Declaratory Judgment Act, 28 U.S.C. §§ 2201 and 2202. This Court has jurisdiction over
                   12    the subject matter of this action, including Fairchild’s counterclaims, pursuant to 28 U.S.C.
                   13    §§ 1331 and 1338. The parties agree that venue is proper in this district and that the Court has
                   14    personal jurisdiction over all current parties. There are no remaining parties to be served.
                   15    II.            Description Of The Case and Disputed Factual Issues
                   16           This is a patent infringement action. The patents-in-suit relate to certain methods and
                   17    designs for semiconductor technology. On May 17, 2007, AOS filed the above-captioned suit
                   18    (the “AOS” action) for patent infringement and declaratory judgment against Fairchild seeking
                   19    relief for Fairchild’s alleged willful infringement of U.S. Patent No. 5,907,776 (the “‘776 patent”)
                   20    and U.S. Patent No. 5,767,567 (the “‘567 patent”) (collectively, “the AOS patents-in-suit”). AOS
                   21    also seeks declaratory judgment of alleged non-infringement of U.S. Patent No. 6,429,481 (the
                   22    “‘481 patent”) and U.S. Patent No. 6,710,406 (the “‘406 patent”).
                   23           On May 18, 2007, Fairchild filed suit against AOS, Fairchild Semiconductor Corp. v.
                   24    Alpha & Omega Semiconductor, Inc., et al., Case No. 07-2664 (the “Fairchild” action). In its
                   25    complaint, Fairchild seeks relief for AOS’s alleged willful infringement of U.S. Patent No.
                   26    6,429,481 (the “‘481 patent”), U.S. Patent No. 6,710,406 (the “‘406 patent”), U.S. Patent No.
                   27    6,521,497 (the “‘497 patent”), and U.S. Patent No. 6,828,195 (the “‘195 patent”) (collectively,

M ORGAN , L EWIS &
                   28    “the Fairchild patents-in-suit”).
  B OCKIUS LLP                                                                           JOINT CASE MGMT CONF. STMT &
 ATTORNEYS AT LAW                                                        2                           [PROPOSED] ORDER
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                    1           Subsequently, Fairchild asserted six counterclaims in the AOS action. Fairchild’s first and
                    2    second counterclaims seek declaratory judgment of alleged non-infringement and alleged
                    3    invalidity of the ‘776 and ‘567 patents – the two patents AOS asserted against Fairchild in the
                    4    AOS action. Fairchild additionally seeks relief for alleged willful infringement of the ‘481, ‘406,
                    5    ‘497, and ‘195 patents – the four patents Fairchild asserted against AOS in the Fairchild action.
                    6           This Court deemed the two cases to be related within the meaning of Civil Local Rule 3-
                    7    12 and the later-filed Fairchild action was reassigned to the Honorable Jeffrey S. White on June
                    8    15, 2007. Pursuant to the parties’ stipulation, the Court thereafter consolidated the two actions
                    9    into the AOS action, Civil Action No. 07-2638, on July 31, 2007.
                   10           AOS asserts that Fairchild has directly, indirectly, contributorily and/or by inducement
                   11    infringed and continues to infringe the AOS patents-in-suit by its manufacture, use, sale,
                   12    importation and/or offer for sale of certain products that embody inventions claimed in the AOS
                   13    patents-in-suit. AOS alleges that this infringement is willful and deliberate. Fairchild denies
                   14    AOS’s allegations, including that Fairchild infringes the ‘776 and ‘567 patents. Fairchild also
                   15    raises a number of affirmative defenses to AOS’s claims, including that the ‘776 and ‘567 patents
                   16    are invalid.
                   17           Fairchild asserts that AOS has directly, indirectly, contributorily and/or by inducement
                   18    infringed and continues to infringe the Fairchild patents-in-suit by its manufacture, use, sale,
                   19    importation and/or offer for sale of certain products that embody inventions claimed in the
                   20    Fairchild patents-in-suit. Fairchild alleges that this infringement is willful and deliberate. AOS
                   21    denies Fairchild’s allegations, including that AOS infringes the ‘481, ‘406, ‘497, and ‘195
                   22    patents. AOS also raises a number of affirmative defenses to Fairchild’s counterclaims, including
                   23    that the ‘481, ‘406, ‘497, and ‘195 patents are invalid.
                   24           The principal factual issues in dispute are:
                   25           1.      whether Fairchild has infringed and is infringing the AOS patents-in-suit;
                   26           2.      whether Fairchild has contributed to the infringement by others of the AOS
                   27    patents-in-suit;

M ORGAN , L EWIS &
                   28           3.      whether Fairchild has induced others to infringe the AOS patents-in-suit;
  B OCKIUS LLP                                                                            JOINT CASE MGMT CONF. STMT &
 ATTORNEYS AT LAW                                                         3                           [PROPOSED] ORDER
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                    1               4.     whether any such infringement by Fairchild is willful;
                    2               5.     whether AOS’s patents-in-suit are valid;
                    3               6.     the amount of AOS’s damages;
                    4               7.     whether AOS has infringed and is infringing the Fairchild patents-in-suit;
                    5               8.     whether AOS has contributed to the infringement by other of the Fairchild patents-
                    6    in-suit;
                    7               9.     whether AOS has induced other to infringe the Fairchild patents-in-suit;
                    8               10.    whether any such infringement by AOS is willful;
                    9               11.    whether Fairchild’s patents-in-suit are valid;
                   10               12.    the amount of Fairchild’s damages.
                   11    III.       Description Of the Legal Issues
                   12               The principal disputed legal issues are:
                   13               1.     the construction of the claims of the patents-in-suit;
                   14               2.     the validity of the patents-in-suit;
                   15               3.     whether any infringement was willful, and it so, the amount of enhanced damages;
                   16               4.     whether an injunction (or injunctions) should issue if any of the patents-in-suit are
                   17    found valid, enforceable, and infringed.
                   18    IV.        Motions
                   19               There are no pending motions. The parties anticipate filing motions for summary
                   20    judgment on the issues of infringement and/or invalidity.
                   21    V.         Amendment Of Pleadings
                   22               AOS may seek to amend its complaint to allege infringement of additional patents.
                   23    Likewise, Fairchild may seek to amend its counterclaims to allege infringement of additional
                   24    patents. Neither party expects to add to or dismiss any of the current parties. The parties propose
                   25    a deadline of November 16, 2007, for the amendment of the pleadings with the right to seek leave
                   26    of the Court to amend the pleadings beyond that date.
                   27    VI.               Evidence Preservation

M ORGAN , L EWIS &
                   28               AOS and Fairchild have taken steps, including the suspension of normal document
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 ATTORNEYS AT LAW                                                              4                          [PROPOSED] ORDER
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                    1    destruction programs and the institution of a litigation hold for both hardcopy documents and
                    2    electronic documents, to preserve evidence relevant to the issues reasonably evident in this action,
                    3    including interdiction of any document-destruction program and any ongoing erasure of e-mails,
                    4    voice mails, and other electronically-recorded material.
                    5    VII.           Disclosures
                    6            The parties conducted a conference pursuant to Federal Rule of Civil Procedure 26(f) on
                    7    July 27, 2007. During that conference, the parties agreed that initial disclosures will be served no
                    8    later than August 10, 2007. The parties each reserve the right to supplement their disclosures as
                    9    discovery continues.
                   10    VIII.          Discovery
                   11            The parties agree to the following discovery plan:
                   12            (a)    Discovery Needed –
                   13                       1. The alleged infringement of the asserted six patents
                   14                       2. The alleged invalidity of the asserted six patents
                   15                       3. The enforceability of the asserted six patents
                   16                       4. The alleged damages resulting from the alleged infringement of each of the
                   17                           asserted six patents
                   18                       5. If any asserted patent is found valid and infringed, whether the
                   19                           infringement was willful
                   20            (b)    Bifurcation – The parties oppose bifurcation for discovery or trial.
                   21            (c)    Interrogatories – The parties request that each party be allowed to serve a
                   22    maximum of 25 interrogatories.
                   23            (d)    Depositions –
                   24            AOS’s Position: In view of the fact that these consolidated cases involve six patents with
                   25    multiple inventors, AOS requests that each side be limited to 30 depositions lasting no more than
                   26    10 hours per witness, with the exception that depositions that require an interpreter shall last no
                   27    longer than 20 hours per witness.

M ORGAN , L EWIS &
                   28            Fairchild’s Position: These consolidated cases involve the same six patents. The four
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                    1    Fairchild patents-in-suit are related to the same parent patent application and share the same
                    2    named inventors. Consequently, Fairchild believes that 20 depositions per side is sufficient.
                    3    Fairchild requests that each deposition last no longer than seven hours per witness, with the
                    4    exception that depositions that require an interpreter should last no longer than fourteen hours per
                    5    witness.
                    6           (e)     Requests for Admissions and for Documents – The parties agree that there should
                    7    be no limits on requests for admissions or document discovery requests.
                    8           (f)     Foreign Deponents – The parties agree that each party shall produce for deposition
                    9    in the United States any foreign witness over which it has control.
                   10           (g)     Representative Accused Products –
                   11           AOS’s Position: Because this case is in its initial stages, AOS is not in a position to make
                   12    an informed decision regarding the viability of using only representative accused products or the
                   13    process by which the parties would select those products. AOS proposes that the parties discuss
                   14    this issue as discovery progresses.
                   15           Fairchild’s Position: Fairchild proposes that the parties agree to select representative
                   16    accused products in order to reduce the amount of discovery and to reduce the length of trial.
                   17    IX.            Class Action
                   18           This is not a class action.
                   19    X.             Related Cases
                   20           Related cases C 07-2638 JSW and C 07-2664 JSW have been consolidated. The parties
                   21    are not aware of any other related cases pending before another judge of this Court or before
                   22    another court or administrative body.
                   23    XI.            Relief
                   24           AOS seeks a declaration of non-infringement and invalidity of the ‘481 and ‘406 patents.
                   25    AOS also seeks judgment of infringement of the ‘776 and ‘567 patents. AOS requests entry of a
                   26    permanent injunction, an award of damages, including enhanced damages pursuant to 35 U.S.C.
                   27    § 284, a declaration that the case is exceptional within the meaning of 35 U.S.C. § 285 and an

M ORGAN , L EWIS &
                   28    award of attorney’s fees and costs. AOS also seeks dismissal of all of Fairchild’s counterclaims
  B OCKIUS LLP                                                                           JOINT CASE MGMT CONF. STMT &
 ATTORNEYS AT LAW                                                        6                           [PROPOSED] ORDER
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                    1    asserting infringement of the ‘481, ‘406, ‘497, and ‘195 patents.
                    2            Fairchild seeks a declaration of non-infringement and invalidity of the ‘776 and ‘567
                    3    patents. Fairchild also seeks judgment of infringement of the ‘481, ‘406, ‘497, and ‘195 patents.
                    4    Fairchild requests entry of a permanent injunction, an award of damages, including enhanced
                    5    damages pursuant to 35 U.S.C. § 284, a declaration that the case is exceptional within the
                    6    meaning of 35 U.S.C. § 285 and an award of attorney’s fees and costs.
                    7    XII.            Settlement and ADR
                    8            The parties timely met and conferred pursuant to ADR Local Rule 3-5(a). During that
                    9    meeting, the parties agreed to participate in private mediation and filed a Stipulation and
                   10    [Proposed] Order Selecting ADR Process with the Court on July 27, 2007. The parties believe
                   11    that mediation should be scheduled after they have had an opportunity to engage in sufficient
                   12    discovery related to the (1) design, fabrication method, and structure of the accused products, and
                   13    (2) invalidity allegations to allow for meaningful settlement discussions. It may also be more
                   14    productive to conduct the mediation after the Court has issued its claim construction ruling.
                   15    XIII.           Consent To Magistrate Judge For All Purposes
                   16            AOS’s Position: AOS does not consent to the assignment of this case to a United States
                   17    Magistrate Judge.
                   18            Fairchild’s Position: Fairchild would agree to assignment of this case to a United States
                   19    Magistrate Judge for jury trial subject to the approval of the parties.
                   20    XIV.            Other References
                   21            The parties do not believe that this case is suitable for reference to binding arbitration, a
                   22    special master, or the Judicial Panel on Multidistrict Litigation.
                   23            AOS’s Position: AOS requests that this Court handle all claims construction, pretrial and
                   24    trial issues.
                   25            Fairchild’s Position: Fairchild would agree to having claims construction issues referred to
                   26    a special master if the Court would find that to be an efficient use of its time.
                   27    XV.             Narrowing Of The Issues

M ORGAN , L EWIS &
                   28            The parties are not aware of any issues that can be narrowed by agreement or motion at
  B OCKIUS LLP                                                                             JOINT CASE MGMT CONF. STMT &
 ATTORNEYS AT LAW                                                          7                           [PROPOSED] ORDER
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                    1    this time. The parties believe that discovery is not mature enough and trial is too remote at this
                    2    time to determine issues that can be narrowed, suggestions to expedite the presentation of
                    3    evidence at trial, or whether bifurcation of issues, claims or defenses is appropriate. The parties
                    4    intend to address these issues as discovery proceeds and the issues become clearer.
                    5    XVI.           Expedited Schedule
                    6            The parties at this time do not believe that this is the type of case that can be handled on
                    7    an expedited basis with streamlined procedures.
                    8    XVII.          SCHEDULING
                    9            The parties agree to the following schedule:
                   10    EVENT                                                                    PARTIES’
                                                                                                  PROPOSED DATES
                   11
                         Initial Disclosures                                                      August 10, 2007
                   12
                         Initial Case Management Conference                                       August 17, 2007
                   13

                   14    Disclosure of Asserted Claims and Preliminary Infringement               August 31, 2007
                         Contentions (Patent L.R. 3-1)
                   15
                         Exchange of Documents Supporting Infringement Contentions                August 31, 2007
                   16    (Patent L.R. 3-2)
                   17    Disclosure of Preliminary Invalidity Contentions (Patent L.R. 3-3)       October 15, 2007
                   18    Exchange of Documents Supporting Invalidity Contentions                  October 15, 2007
                   19    (Patent L.R. 3-4)

                   20    Simultaneous Exchange of Proposed Terms and Claim Elements               October 29, 2007
                         for Construction (Patent L.R. 4-1(a))
                   21
                         Meet and Confer re: Proposed Terms and Claim Elements for                November 5, 2007
                   22    Construction (Patent L.R. 4-1(b))
                   23    Last Day to Amend Complaint/Counterclaims                                November 16, 2007
                   24
                         Simultaneous Exchange of Preliminary Claim Constructions                 November 19, 2007
                   25    (Patent L.R. 4-2(a))

                   26    Preliminary Exchange of Extrinsic Evidence (Patent L.R. 4-2(b))          November 19, 2007
                   27    Joint Claim Construction Statement Due (Patent L.R. 4-3)                 December 14, 2007

M ORGAN , L EWIS &
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  B OCKIUS LLP                                                                            JOINT CASE MGMT CONF. STMT &
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                    1
                         Discovery on Claim Construction Closes (Patent L.R. 4-4)                  January 14, 2007
                    2
                         Opening Claim Construction Brief(s) Due (Patent L.R. 4-5(a))              February 1, 2008
                    3
                         Opposition Claim Construction Brief(s) Due (Patent L.R. 4-5(b))           February 15, 2008
                    4
                         Reply Claim Construction Brief(s) Due (Patent L.R. 4-5(c))                February 22, 2008
                    5
                         Tutorial                                                                  March 5, 2008
                    6

                    7    Claim Construction Hearing                                                March 12, 2008

                    8    Fact Discovery Cut-off                                                    Remainder of dates to be
                                                                                                   set during post-claim
                    9                                                                              construction case
                                                                                                   management conference
                   10
                         Disclosure of Identity of Liability Experts
                   11

                   12    Written Expert Reports Due

                   13    Rebuttal Expert Reports Due

                   14    Expert Discovery Cut-off
                   15    Deadline for Filing Dispositive Motions
                   16    Pre-trial Conference
                   17
                         Trial
                   18
                         XVIII.          Trial
                   19
                                  Both parties have requested a jury trial and agree that trial will last three to four weeks.
                   20
                         XIX.            Disclosure Of Non-Party Interested Entities Or Persons
                   21
                                  The parties have each filed the required Certification of Interested Entities or Persons as
                   22
                         required by Civil Local Rule 3-16.
                   23
                                  AOS certifies that that the following listed persons, associations of persons, firms,
                   24
                         partnerships, corporations (including parent corporations) or other entities (i) have a financial
                   25
                         interest in the subject matter in controversy or in a party to the proceeding, or (ii) have a non-
                   26
                         financial interest in that subject matter or in a party that could be substantially affected by the
                   27
                         outcome of this proceeding:
                28
M ORGAN , L EWIS &
  B OCKIUS LLP                                                                              JOINT CASE MGMT CONF. STMT &
 ATTORNEYS AT LAW                                                           9                           [PROPOSED] ORDER
   SAN FRANCISCO
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                    1                   ALPHA & OMEGA SEMICONDUCTOR (SHANGHAI) LIMITED
                    2                   ALPHA & OMEGA SEMICONDUCTOR (HONG KONG) LIMITED
                    3           Fairchild certifies that that the following listed persons, associations of persons, firms,
                    4    partnerships, corporations (including parent corporations) or other entities (i) have a financial
                    5    interest in the subject matter in controversy or in a party to the proceeding, or (ii) have a non-
                    6    financial interest in that subject matter or in a party that could be substantially affected by the
                    7    outcome of this proceeding:
                    8                   FAIRCHILD SEMICONDUCTOR CORPORATION
                    9    XX.    Patent Related Issues Pursuant To Patent Local Rule 2-1(a)
                   10           A.      Order of Presentation at the Claims Construction Hearing
                   11           The parties propose that AOS will present first at the claims construction hearing with
                   12    respect to the construction of claims of the AOS patents-in-suit and that Fairchild will present
                   13    first at the claims construction hearing with respect to the construction of the claims of the
                   14    Fairchild patents-in-suit.
                   15           B.      Extrinsic Evidence and Live Testimony at the Claims Construction Hearing
                   16           Currently, the parties do not anticipate presenting live testimony at the Claims
                   17    Construction Hearing. If these positions change during the course of discovery and briefing, the
                   18    parties will seek the Court’s approval should they decide to present extrinsic evidence at the
                   19    hearing pursuant to the Court’s Standing Order for Patent Cases ¶ 10.
                   20           C.      Need for Limits on Discovery Relating to Claims Construction
                   21           The parties do not envision the need for any limits on discovery related to claims
                   22    construction, other than those provided by the Federal Rules or as provided by this Case
                   23    Management Order.
                   24           D.      Scheduling of a Claims Construction Prehearing Conference
                   25           At this time, the parties do not anticipate the need for the scheduling of a Claim
                   26    Construction Prehearing Conference.
                   27

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  B OCKIUS LLP                                                                             JOINT CASE MGMT CONF. STMT &
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                    1    Dated: August 10, 2007                   MORGAN, LEWIS & BOCKIUS LLP
                    2

                    3
                                                                  By: /s/ Daniel Johnson, Jr.
                    4                                                Daniel Johnson, Jr.
                                                                     Attorneys for Plaintiffs and
                    5                                                Counterdefendants
                                                                     ALPHA & OMEGA SEMICONDUCTOR,
                    6                                                LTD., AND ALPHA & OMEGA
                                                                     SEMICONDUCTOR, INC.
                    7

                    8    Dated: August 10, 2007                    TOWNSEND AND TOWNSEND AND
                                                                   CREW LLP
                    9

                   10
                                                                   By: /s/ Eric P. Jacobs
                   11                                                 Eric P. Jacobs
                                                                      Attorneys for Defendant and
                   12                                                 Counterclaimant
                                                                      FAIRCHILD SEMICONDUCTOR
                   13                                                 CORPORATION
                   14

                   15                           [PROPOSED] CASE MANAGEMENT ORDER
                   16
                                  The Case Management Statement and Proposed Order is hereby adopted by the Court as
                   17
                         the Case Management Order for the case. The parties shall comply with this Order.
                   18
                                  IT IS SO ORDERED.
                   19
                         Dated:
                   20
                                                                    ________________________________
                   21                                               HON. JEFFREY S. WHITE
                   22                                               UNITED STATES DISTRICT JUDGE

                   23

                   24

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M ORGAN , L EWIS &
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  B OCKIUS LLP                                                                       JOINT CASE MGMT CONF. STMT &
 ATTORNEYS AT LAW                                                     11                         [PROPOSED] ORDER
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                    1                      ATTESTATION PURSUANT TO GENERAL ORDER 45
                    2
                                I, Amy M. Spicer, attest that concurrence in the filing of this document has been obtained
                    3
                         from counsel for plaintiffs, counterdefendants, counterclaimants, and defendants. I declare under
                    4
                         the penalty of perjury under the laws of the United States of America that the foregoing is true
                    5
                         and correct.
                    6
                                Executed this 10th day of August 2007, at San Francisco, California.
                    7

                    8                                             /s/ Amy M. Spicer             .
                                                                      Amy M. Spicer
                    9

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M ORGAN , L EWIS &
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  B OCKIUS LLP                                                                           JOINT CASE MGMT CONF. STMT &
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   SAN FRANCISCO
                                                                    1-SF/7580628.3                   [PROPOSED] ORDER
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